 4:08-cr-03035-RGK-DLP          Doc # 29    Filed: 03/31/08   Page 1 of 1 - Page ID # 36


                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )         4:08MJ3006 &
                                              )         4:08CR3035-2
                   Plaintiff,                 )
                                              )
      vs.                                     )
                                              )         ORDER
MARTHA LILIANO MIRANDA-                       )
SANDOVAL,                                     )
                                              )
                   Defendant.                 )

      IT IS ORDERED that J. Bruce Teichman’s motion to withdraw as counsel (filing 15
in Case No. 4:08MJ3006) is granted. Mr. Teichman is allowed to withdraw as defense
counsel in Case Nos. 4:08MJ3006 and 4:08CR3035-2.

      March 31, 2008.                      BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
